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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS

                                 TYLER DIVISION

 CELLULAR COMMUNICATIONS               §
 EQUIPMENT LLC,                        §
                                       §   Civil Action No. 6:13-cv-508-LED
                                       §
                 Plaintiff,            §   JURY TRIAL DEMANDED
 v.                                    §
                                       §   Judge Leonard Davis
 LG ELECTRONICS, INC., et al.,         §
                                       §
                 Defendants.           §


DEFENDANTS’ JOINT REPLY IN SUPPORT OF DEFENDANTS’ JOINT MOTION TO

                  DISMISS FOR FAILURE TO STATE A CLAIM
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       Cellular Communications Equipment LLC’s (“CCE’s”) Opposition to Defendants’

Motions to Dismiss (“Opp.”) ignores the case law mandating that its boilerplate allegations of

indirect and willful infringement be dismissed. CCE also injects entirely new factual allegations

through its Opposition, confirming that its Complaints are deficient. At a minimum, CCE’s

failure to sufficiently allege pre-suit knowledge of the asserted patents mandates that any liability

for indirect infringement must be limited to the post-filing period.

I.     ARGUMENT

       A.      CCE’s Induced Infringement Claims Should Be Dismissed

       CCE improperly attempts to introduce new allegations through its Opposition. These

newly alleged facts cannot cure CCE’s failure to sufficiently plead two essential elements of

inducement: (1) Defendants' specific intent for a third party to infringe the asserted patents; and

(2) Defendants' knowledge that the third party’s acts constituted infringement.

       First, CCE does not sufficiently allege intent, disregarding the Twombly/Iqbal

requirements by claiming CCE “need not identify specific documents to prove intent.” Opp. at

6. In its Opposition, CCE attempts to add new factual details that discuss the medium of

Defendants’ “instructional materials”—that Defendants “tell their customers how to use the

accused products” “online” and via “manuals”—rather than actually identifying an instruction

related to the asserted patents. CCE’s threadbare allegations, however, only recite the elements

of the cause of action with the barest of changes, and do not permit the reasonable inference that

Defendants are liable for the misconduct alleged. Second, CCE addresses the wrong issue,

arguing that a “plausible inference that Defendants had knowledge of the patents” satisfies the

knowledge requirement. Opp. at 6 (emphasis added). In fact, “the knowledge requirement for

inducement refers to the inducer’s knowledge of the induced third party’s infringing acts, not



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knowledge of an inducer’s own inducing conduct.” Compound Photonics, LTD v. Sony Corp.,

No. 6:11-cv-552-LED-JDL, slip op. at *8 (E.D. Tex. June 5, 2013). CCE’s reliance on Achates

is misplaced. Achates did not hold that the knowledge element could be satisfied merely based

on alleged knowledge of the patents as opposed to the third party’s acts; it determined that the

required knowledge of the third party’s acts could be inferred where the defendants’ customers

were sold a product containing a component that would be ineffective in achieving its purpose if

a specific, infringing customer step was not mandatory. 1 Achates Reference Publ., Inc. v.

Symantec Corp., No. 2:11-cv-294-JRG-RSP, 2013 U.S. Dist. LEXIS 27143, at *10 (E.D. Tex.

Jan. 10, 2013). CCE has not alleged that the accused products contain such a critical component.

Indeed, CCE’s Complaints offer no description of the alleged invention, much less a description

of any particular action allegedly “instructed” by Defendants and performed by their customers.

         B.       CCE’s Contributory Infringement Claims Should Be Dismissed

         CCE ignores the Twombly/Iqbal requirements that contributory infringement claims must

be supported with specific factual allegations. At the pleading stage, “a plaintiff must . . . plead

facts that allow an inference that the components . . . have no substantial non-infringing uses.”

In re Bill of Lading Transmission and Processing Sys. Patent Litig., 681 F.3d 1323, 1337 (Fed.

Cir. 2012). “[T]he inquiry focuses on whether the accused products can be used for purposes

other than infringement.” Id. at 1338. A claim for contributory infringement that “does not

identify the components used in the infringing method” and does not “allege any facts adequate

for the Court to find an inference that such components have no substantial non-infringing uses”

must be dismissed. InMotion Imagery Techs. v. Brain Damage Films, 2:11-CV-414-JRG, 2012


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  In Achates, the plaintiff asserted patents allegedly covering “activation” of a software product. The Court reasoned
that “[i]n order to be an effective anti-piracy countermeasure, [defendant’s] software products must require that the
activation step be mandatory. Therefore, it is reasonable to infer that [defendant] encourages its customers to use its
software products and complete the activation step.” 2013 U.S. Dist. LEXIS 27143, at *10.

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WL 3283371, at *4 (E.D. Tex. Aug. 10, 2012). CCE’s Complaints fail to meet either standard.

          CCE’s Complaints allege no facts that would allow an inference or inquiry regarding use

of the accused products for non-infringing purposes. Instead, CCE improperly attempts to add

factual details in its Opposition and incorrectly suggests that CCE can ignore the pleading

requirements until “after discovery.” Opp. at 7-8. Moreover, CCE’s allegations that Defendants

“instruct[] customers and end users” to infringe imply that the accused products have substantial

non-infringing uses. See U.S. Ethernet Innovations, LLC v. Digi Int’l Inc., No. 6:12-cv-366-MHS-

JDL, 2013 U.S. Dist. LEXIS 114309 at *14 (E.D. Tex. Feb. 7, 2013). CCE ignores this, instead

relying on Achates to suggest that contributory infringement can be inferred from “adequate

facts” in the Complaints “that the … component has no other use than to perform the method

steps.”    Opp. at 8.    In Achates, however, the Court was able to describe the “activation

component” in question, 2013 U.S. Dist. LEXIS 27143, at *8-9; CCE’s Complaints are devoid of

factual allegations describing any components.

          C.     CCE’s Willful Infringement Claims Should Be Dismissed

          CCE argues that it can plead willful infringement by alleging only direct infringement

and pre-filing knowledge of the asserted patents, and suggests that it need not allege any

objectively reckless behavior or circumstance. Opp. at 9.        CCE is incorrect; a good faith

willfulness allegation requires an “allegation that [Defendants] acted despite an objectively high

likelihood that its actions constituted infringement of a valid patent.” Touchscreen Gestures

LLC v. RIM Ltd., No. 6:12-cv-263, 2013 U.S. Dist. LEXIS 97080, at *5-6 (E.D. Tex. Mar. 27,

2013); see Oasis Research, LLC v. Adrive, LLC, No. 4:10-cv-435, 2011 U.S. Dist. LEXIS

80483, at *14-15 (E.D. Tex. May 23, 2011). CCE also ignores the ample authority that the

boilerplate language in its Complaints is insufficient. See Motion at 9-11.



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         Furthermore, CCE’s allegations are insufficient even to establish pre-suit knowledge of

the asserted patents, a required element of willfulness. In re Seagate Tech., LLC, 497 F.3d 1360,

1374 (Fed. Cir. 2007). CCE’s allegations of pre-suit knowledge of the ’9923, ’962, ’174, and

’820 Patents rely almost entirely on details wholly absent from the Complaints, and collectively

provide only a speculative possibility that Defendants obtained knowledge of those patents.

         D.       CCE’s Allegations of Activity Prior to Filing of the Complaints are Insufficient

         One defect common to all of the inducement, contributory, and willful infringement

allegations is CCE’s failure to sufficiently allege pre-suit knowledge of the asserted patents.

First, CCE concedes that no pre-suit knowledge of the ’804 Patent was alleged. Opp. at 3.

Second, CCE’s argument that it alleged pre-suit knowledge of the ’9923, ’962, ’174, and ’820

Patents depends almost entirely on factual claims that were wholly absent from the Complaints.2

In its Complaints, CCE’s sole allegation of pre-suit knowledge is its claim that these four patents

were disclosed to “3GPP.” In its Opposition, CCE newly dubs these patents as being “declared

essential to practice a standard” and argues for the first time that Defendants “garnered pre-suit

knowledge by virtue of their involvements [sic] with a standards-setting organization called the

3rd Generation Partnership Project (or ‘3GPP’).” 3 Opp. at 4. In its Complaints, however, CCE

did not allege any facts about 3GPP (not even its full name), much less that 3GPP routinely

redistributed patent disclosures to its members or that 3GPP redistributed these specific patents

to these Defendants. Indeed, CCE does not even allege that Defendants are 3GPP members; it

only alleges that they might be, or are “affiliated with” members. Neither Defendants nor the

Court can reasonably infer that alleged disclosures of these patents to “3GPP”—an acronym with
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  CCE does not allege indirect or willful infringement for the ’8923 patent.
3
  CCE further alleges, for the first time, that the “3GPP solicits identification of standard essential patents,” Opp. at
4, that Defendants “received actual notice of the standard essential patents at issue here,” id., that “it is well-known
that 3GPP not only develops and publishes wireless communications standards, but actively encourages and solicits
disclosure of patents essential to its work and maintains a register of such patents,” id. at 5, and that each asserted
patent “has exceptional significance to 3GPP members.” Id.

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no context or explanation—resulted in Defendants acquiring actual knowledge of the patents.

       CCE’s allegations in its Complaints regarding the 3GPP are mere “‘naked assertions’

devoid of ‘further factual enhancement’” that are not entitled to a presumption of truth, and do

not permit the “reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. 662 at 678-79 (2009) (quoting Twombly, 550 U.S. at 556). Accordingly, CCE’s

indirect infringement and willfulness claims do not “give[] rise to anything more than a

conceivable possibility of [pre-suit] knowledge” and should be dismissed. Rembrandt Soc.

Media, LP v. Facebook, Inc., No. 1:13-cv-158, 2013 WL 2950342, at *5 (E.D. Va. June 12,

2013). CCE cannot distinguish Rembrandt with factual details alleged solely in the Opposition.

See Opp. at 5. But even if new facts could be properly considered, CCE’s new allegation that

Defendants received “actual notice” of these four patents is based merely on Defendants’—or

even more ambiguously, their affiliates’—association with 3GPP. CCE never actually alleges

that the 3GPP or any related person or entity disclosed any of these patents to Defendants.

       Because CCE alleges neither that Defendants had pre-suit knowledge of one patent, nor

facts sufficient to provide more than a speculative possibility that Defendants had pre-suit

knowledge of the other four, CCE’s willful and indirect infringement claims should be

dismissed. At a minimum, CCE cannot recover damages for those claims allegedly accrued prior

to the Complaints’ filing. E.g., Execware LLC v. Staples Inc., No. 1:11-cv-00836-LPS-SRF, at

*10, 12 (D. Del. Dec. 12, 2012) (slip copy) (recommendation adopted Jan. 16, 2013).

II.    CONCLUSION

       Defendants respectfully request that the Court dismiss CCE’s claims of indirect and

willful infringement. Alternatively, Defendants respectfully request the Court rule that CCE

cannot recover for any alleged damages prior to filing of the Complaints.



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Dated: November 12, 2013           Respectfully submitted,


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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was filed
electronically in compliance with Local Rule CV-5 on this 12th day of November, 2013. As of
this date all counsel of record have consented to electronic service and are being served with a
copy of this document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).




                                                   /s/ Christopher W. Kennerly

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